Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 1 of 16




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         Civil Action No. 1:22-cv-21035-RNS


  BELL NORTHERN RESEARCH, LLC,

                    Plaintiff,

        v.

  HMD AMERICA, INC., HMD GLOBAL OY,
  SHENZHEN CHINO-E COMMUNICATION
  CO. LTD., HON HAI PRECISION INDUSTRY
  CO., LTD, TINNO MOBILE CORP., UNISOC       JURY TRIAL DEMANDED
  TECHNOLOGIES CO. LTD., WINGTECH
  TECHNOLOGY CO., LTD. and HUAQIN CO.
  LTD.,
                   Defendants.




     PLAINTIFF’S MOTION AND MEMORANDUM LAW FOR LEAVE TO EFFECT
     ALTERNATIVE SERVICE UNDER RULE 4(f)(3) AND EXTENSION OF TIME TO
                         PURSUANT TO RULE 4(m)




                                        1
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 2 of 16




                                         TABLE OF CONTENTS
  I.      INTRODUCTION ................................................................................................................... 1

  II.        FACTUAL BACKGROUND .............................................................................................. 3

        A.     Defendant Chino-E Has Valid Email Addresses and Plaintiff BNR Has Been Diligent in
        Efforts to Notify Chino-E of the Litigation ................................................................................ 4

        B.     Defendant Huaqin Has a Valid Email Address and Plaintiff BNR Has Been Diligent in
        Efforts to Notify Huaqin of the Litigation .................................................................................. 6

  III.       LEGAL STANDARD.......................................................................................................... 7

  IV.        ARGUMENT ....................................................................................................................... 9

        A.      Service on Chino-E and Huaqin by Email Is Appropriate Under Rule 4(f)(3) ................ 9

        B.      Formal Hague Service Will Cause Significant Delay and Expense............................... 10

        C.      A Brief Extension of Time to Serve Defendants Will Streamline the Litigation .......... 11

  V.         CONCLUSION .................................................................................................................. 12




                                                                        i
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 3 of 16




                                                   TABLE OF AUTHORITIES

  Cases

  Prewitt Enters. v. OPEC,
    353 F.3d 916 (11th Cir. 2003) .................................................................................................... 7

  Rio Properties, Inc. v. Rio Int’l Interlink,
    284 F.3d 1007 (9th Cir. 2002) .................................................................................................... 7

  United States CFTC v. Aliaga.,
    272 F.R.D. 617 (S.D. Fla. 2011) ................................................................................................. 8

  Mullane v. Cent. Hanover Bank & Trust Co.,
   339 U.S. 306 (1950) .................................................................................................................... 8

  Tapestry, Inc. v. 2012coachoutlets.com,
    No. 17-24561-Civ-Scola, 2018 U.S. Dist. LEXIS 233014 (S.D. Fla. Feb. 6, 2018) .................. 8

  Lexmark Int’l, Inc. v. Ink Techs. Printer Supplies, LLC,
    291 F.R.D. 172 (S.D. Ohio 2013) ............................................................................................... 8

  Gamboa v. Ford Motor Co.,
    414 F. Supp. 3d 1035 (E.D. Mich. 2019).................................................................................... 8

  Microsoft Corp. v. Goldah.com Network Technology Co., Ltd.,
    No. 17-2896 LHK, 2017 U.S. Dist. LEXIS 168537 (N.D. Cal. Oct. 11, 2017) ......................... 9

  WeWork Cos. v. WePlus (Shanghai) Tech. Co.,
   Case No. 5:18-cv-04543-EJD, 2019 U.S. Dist. LEXIS 5047 (N.D.Cal. Jan. 10, 2019) ............. 9

  Lepone-Dempsey v. Carrol County Comm'rs.
    476 F.3d 1277 (11th Cir. 2007) .................................................................................................. 9

  Horenkamp v. Van Winkle & Co.
    402 F.3d 1129 (11th Cir. 2005) .................................................................................................. 9


  Statutes
  Fed. R. Civ. P. 4 .............................................................................................................................. 3




                                                                          ii
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 4 of 16




  I.      INTRODUCTION

          Plaintiff Bell Northern Research, LLC (“BNR”) files this Motion and Memorandum of

  law to effect service by alternative means on Defendants Shenzhen Chino-E Communication Co.

  Ltd. (“Chino-E”) and Huaqin Co. Ltd. (“Huaqin”) (collectively, “Defendants”) and for an

  extension of time to carry out that service of those Defendants pursuant to Rule 4(m). After

  numerous unsuccessful attempts to secure Chino-E’s and Huaqin’s and participation in this

  litigation, BNR seeks this Court’s permission to serve Chino-E and Huaqin through e-mail. The

  proposed method of service is permitted by the Federal Rules of Civil Procedure, and it is not

  prohibited by the Hague Convention on the Service Abroad of Judicial and Extrajudicial

  Documents (the “Hague Convention”) or any other applicable international agreement.

  Moreover, the proposed service would satisfy due process, as Chino-E and Huaqin publicly

  operate websites on the Internet and utilize e-mail means as a reliable form of contact.

          Plaintiff is requesting an extension of time to serve Defendants outside of the 90-day

  period provided by Rule 4(m), which is appropriate in this case because Plaintiff has been

  diligent in apprising the Defendants of the litigation and seeking a waiver of service from them

  as to the Complaint. Granting the instant motion will avoid unwarranted and unfair delay. With

  the exception of Chino-E and Huaqin, Plaintiff BNR has been successful in serving the other six

  litigants in this case, and their respective response deadlines are approaching. If the Court grants

  Plaintiff’s motion, it will enable the Chino-E and Huaqin Defendants to be similarly positioned

  as the others regarding response dates. Under these circumstances, the resources of the Court

  would be better served by granting Plaintiff’s motion, which will result in a more streamlined

  litigation process.




                                                   1
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 5 of 16




         The following table briefly summarizes BNR’s efforts to date to contact Chino-E and

  Huaqin to notify them of the pending lawsuit and obtain a waiver of service from them as to the

  Complaint. The Waiver of Service packet referenced below includes copies of the Complaint

  and Exhibits thereto (Dkt. 1), Summons, Form AO 399 (Waiver of the Service of Summons),

  and Form AO 398 (Notice of a Lawsuit and Request to Waive Service of a Summons).

   April 14, 2022         Counsel for BNR sent correspondence including a Waiver of Service
                          packet via FedEx to Shenzhen Chino-E Communication Co. Ltd., 139
                          Lixiang Road, Songmushan Dalang Town Dongguan, 523770, China
                          (FED EX #5249 4871 2404). (Exhibit A (“Ex. A”) at 1.)
   April 14, 2022         Counsel for BNR sent correspondence including a Waiver of Service
                          packet via FedEx to Huaqin Co. Ltd at Building 1 & 9 & 11, NO.399
                          Keyuan Road, Zhangjiang Hi-tech Park, Pudong New District,
                          Shanghai, China (FED EX #5249 4871 2390). (Exhibit B (“Ex. B”) at
                          4.)
   April 14, 2022         Counsel for BNR emailed a copy of correspondence from BNR’s
                          counsel to Chino-E, including the Waiver of Service packet, to
                          feng.shi@ontim.cn. (Ex. A at 10.)
   April 14, 2022         Counsel for BNR emailed a copy of correspondence from BNR’s
                          counsel to Chino-E, including the Waiver of Service packet, to
                          gms@ontim.cn. (Ex. A at 13.)
   April 14, 2022         Counsel for BNR emailed a copy of correspondence from BNR’s
                          counsel to Chino-E, including the Waiver of Service packet, to
                          cncekor@chino-e.com. (Ex. A at 9.)
   April 14, 2022         Counsel for BNR emailed a copy of correspondence from BNR’s
                          counsel to Huaqin, including the Waiver of Service packet, to
                          huaqin@huaqin.com. (Ex. B at 3.)
   April 14, 2022         Counsel for BNR, Adam Woodward, called Huaqin via phone at +86
                          21 6165 1266 and +86 183 9209 9306, listed at
                          https://en.huaqin.com/Gms.html.
   April 14, 2022         Counsel for BNR, Adam Woodward, called Chino-e via phone at +86
                          0769-88609999, listed at http://www.chino-
                          e.com/copy_contact_105032.html
   June 15, 2022          Service is attempted on Huaqin at 8771 Halstead Court, Dallas, TX
                          75243. (Ex. B at 12.)
   July 17, 2022          Service is attempted again on Huaqin at 8771 Halstead Court, Dallas,
                          TX 75243. (Ex. B at 10.)
   June 21, 2020          Devlin Law Firm, BNR’s counsel, mailed a Waiver of Service packet
                          to Chino-E at No. 137, 139, Lixiang Road, Songmushan Village,
                          Dalang Town, Dongguan City, Guangdong Province, China (FED EX
                          #7771 9002 3583). (Ex. A at 23.)
   June 21, 2020          Devlin Law Firm mailed a Waiver of Service packet to Chino-E at No.
                          503, 505, 5th Floor, Hengjiang Mansion, Intersection of Bulong Road

                                                 2
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 6 of 16




                           and Renmin Road, Longhua New District, Shenzhen, China (FED EX
                           #7771 9014 1563). (Ex. A at 14.)
   June 21, 2020           Devlin Law Firm mailed a Waiver of Service packet to Chino-E at 17th
                           Floor, Shuguang Mansion, South 12 Road of Science and Technology,
                           Nanshan District, Shenzhen, China
                           (FED EX #7771 9053 4253). (Ex. A at 29.)
   June 21, 2020           Devlin Law Firm mailed a Waiver of Service packet to Chino-E at 16th
                           Floor, Building 3, No. 9 Wangjing Central Plaza South Road,
                           Chaoyang District, Beijing, China (FED EX #7771 8934 2701). (Ex. A
                           at 17.)
   June 21, 2020           Devlin Law Firm mailed a Waiver of Service packet to Chino-E at
                           Room 602, 6th Floor, Block B, T3 Software Park, High-tech Village,
                           Nanshan District, Shenzhen, China
                           (FED EX #7771 9047 5710). (Ex. A at 32.)
   June 21, 2020           Devlin Law Firm mailed a Waiver of Service packet to Chino-E at
                           Innovation Tower, Kuaian Avenue,
                           Fuzhou Development Zone Science Park,
                           Fujian Province, China (FED EX #7771 9033 2932). (Ex. A at 20.)
   June 21, 2020           Devlin Law Firm mailed a Waiver of Service packet to Chino-E at A-
                           1203, SmartValley, 30, Songdomirae-ro, Yeonsu-gu, Incheon,
                           Republic of Korea (21990) (FED EX #7771 8899 4076). (Ex. A at 27.)
   June 21, 2020           Devlin Law Firm mailed a waiver of service packet to Chino-E at
                           Building 2, Zhengxiang Business Center, 153 North Wuyi Road,
                           Fuzhou City, Fujian Province, China
                           (FED EX #7771 8952 8416). (Ex. A at 35.)


  II.    FACTUAL BACKGROUND

         On April 6, 2022, BNR filed a Complaint against Defendants HMD America, Inc., HMD

  Global Oy, Shenzhen Chino-E Communication Co. Ltd. (“Chino-E”), Hon Hai Precision

  Industry Co., Ltd., Tinno Mobile Corp., Unisoc Technologies Co. Ltd., Wingtech Technology

  Co., Ltd., and Huaqin Co. Ltd (“Huaqin”) for infringement of U.S. Patents Nos. 8,204,554,

  7,319,889, RE 48,629, 8,416,862, 7,564,914, 7,957,450, 6,941,156, 6,696,941, 7,039,435,

  6,963,129, 6,858,930, 8,396,072, and 8,792,432. (Dkt. 1.) Defendants Chino-E and Huaqin are

  Chinese companies. (Dkt. 1 at ¶¶ 5, 10.) The Complaint alleges that the Defendants, including

  Chino-E and Huaqin, make, use, sell import and/or provide or cause to be used mobile phones

  and tablets that infringe the asserted patents. (See Dkt. 1 at ¶ 98.) With the exception of Chino-

  E and Huaqin, all of the other six Defendants have been served or otherwise waived service.
                                                   3
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 7 of 16




         A.       Defendant Chino-E Has Valid Email Addresses and Plaintiff BNR Has Been
                  Diligent in Efforts to Notify Chino-E of the Litigation

         According to Chino-E’s website, its headquarters are located at No.139 Lixiang Road,

  Songmushan Dalang Town Dongguan, 523770, China (the “Guangdong” address). (Ex. A at 5.)

  Chino-E’s website also provides three email addresses: feng.shi@ontim.cn, gms@ontim.cn, and

  cncekor@chino-e.com. (Ex. A at 4, 5.) At the bottom of each page of its website, Chino-E lists

  eight separate addresses for itself and related businesses but does not identify any U.S. affiliates.

  (Ex. A at 4.)

         On April 14, 2022, the Devlin Law Firm, counsel for BNR, sent a waiver of service

  packet containing the Complaint, Exhibits, and Forms AO 398 and AO 399 via FedEx to Chino-

  E at the Guandong address. (Ex. A at 1.) The same day Devlin Law Firm also emailed a copy of

  the same to feng.shi@ontim.cn, gms@ontim.cn, and cncekor@chino-e.com. (Ex. A at 8-12.)

  Counsel for BNR, Adam Woodward, also attempted to reach Chino-E by phone at the phone

  number listed on their website (+86 0769-88609999 listed at http://www.chino-

  e.com/copy_contact_105032.html) to confirm the physical and email addresses. The call was not

  answered and no option to leave a voicemail was given. The email address feng.shi@ontim.cn

  received a bounce-back error message (Ex. A at 10.) The emails sent to gms@ontim.cn and

  cncekor@chino-e.com did not bounce back and therefore these are considered operational, valid

  email addresses. On April 19, 2022, FedEx reported that Chino-E refused delivery of the waiver

  of service packet at the Guandong address. (Ex. A at 3.)

         On June 21, 2022, the Devlin Law Firm sent additional Waiver of Service packets to

  eight other addresses listed on Chino-E’s website. (Ex. A at 14-39.) For the first address, No.

  137, 139, Lixiang Road, Songmushan Village, Dalang Town, Dongguan City, Guangdong

  Province, China, FedEx reported delays. (Ex. A at 23.) Delivery was finally attempted on July



                                                    4
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 8 of 16




  2, 2022, and July 4, 2022. (Ex. A at 25.) FedEx stated that they were unable to deliver the

  package due to “Operational Delay Incorrect Address.” (Ex. A at 25.)

         For the second address, No. 503, 505, 5th Floor, Hengjiang Mansion, Intersection of

  Bulong Road and Renmin Road, Longhua New District, Shenzhen, China, FedEx also reported

  delays. (Ex. A at 14-16.) Delivery was finally attempted on July 1, 2022. (Ex. A at 16.) FedEx

  stated that they were unable to deliver the package due to “Operational Delay Incorrect Address

  – Recipient Moved.” (Ex. A at 16.)

         For the third address, 17th Floor, Shuguang Mansion, South 12 Road of Science and

  Technology, Nanshan District, Shenzhen, China, FedEx also reported delays. (Ex. A at 29-31.)

  Delivery was finally attempted on July 1, 2022. (Ex. A at 31.) FedEx stated that they were

  unable to deliver the package due to “Operational Delay Incorrect Address – Apartment/Suite

  Number.” (Ex. A at 31.)

         For the fourth address, 16th Floor, Building 3, No. 9 Wangjing Central Plaza South Road,

  Chaoyang District, Beijing, China, FedEx also reported delays. (Ex. A at 17-19.) Delivery was

  finally attempted on July 1, 2022. (Ex. A at 19.) FedEx stated that they were unable to deliver

  the package due to “Operational Delay Shipment Refused by Recipient.” (Ex. A at 19.)

         For the fifth address, Room 602, 6th Floor, Block B, T3 Software Park, High-tech

  Village, Nanshan District, Shenzhen, China, FedEx also reported delays. (Ex. A at 32-34.)

  Delivery was finally attempted on July 1, 2022. (Ex. A at 34.) FedEx stated that they were

  unable to deliver the package due to “Operational Delay Incorrect address - Apartment/Suite

  number.” (Ex. A at 34.)

         For the sixth address, Innovation Tower, Kuaian Avenue, Fuzhou Development Zone

  Science Park, Fujian Province, China, delivery was attempted on June 27, 2022. (Ex. A at 20-




                                                  5
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 9 of 16




  22.) FedEx stated that they were unable to deliver the package due to “Operational Delay

  Incorrect Address.” (Ex. A at 22.)

         For the seventh address, A-1203, SmartValley, 30, Songdomirae-ro, Yeonsu-gu, Incheon,

  Republic of Korea (21990), FedEx successfully delivered the package and provided a proof of

  delivery on June 23, 2022 at 3:19 PM. (Ex. A at 27-28, 38.)

         For the eighth address, Building 2, Zhengxiang Business Center, 153 North Wuyi Road,

  Fuzhou City, Fujian Province, China, FedEx successfully delivered the package and provided a

  proof of delivery on Jul 4, 2022 2:37 PM. (Ex. A at 35-37, 39.)

         B.      Defendant Huaqin Has a Valid Email Address and Plaintiff BNR Has Been
                 Diligent in Efforts to Notify Huaqin of the Litigation

         According to Huaqin’s website, (https://en.huaqin.com/Gms.html) its headquarters are

  located at Building 1 & 9 & 11, NO.399 Keyuan Road, Zhangjiang Hi-tech Park, Pudong New

  District, Shanghai, China (the “Shanghai” address). (Ex. B at 1.) Huaqin’s website also

  provides an email address: huaqin@huaqin.com. (Ex. B at 2.) On LinkedIn, Bradley Barakat

  identifies himself as General Manager of Huaqin’s North America operations, but no other

  online sources identifies any U.S. affiliates. (Ex. B at 14-15.)

         On April 14, 2022, the Devlin Law Firm sent a waiver of service packet containing the

  Complaint, Exhibits, and Forms AO 398 and AO 399 via FedEx to Huaqin at the Shanghai

  address. (Ex. B at 4-9.) The same day, Devlin Law Firm also sent a copy of the waiver of

  service packet to huaqin@huaqin.com. (Ex. B at 3.)      The email sent to huaqin@huaqin.com did

  not bounce back and is therefore considered an operational and valid email address for Huaqin.

  FedEx attempted delivery of the package sent to the Shanghai address on June 7, 2022 but

  reported “Operational Delay Incorrect Address” and returned the package to shipper. (Ex. B at

  8.)



                                                   6
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 10 of 16




             On April 14, 2020, counsel for BNR, Adam Woodward, attempted to reach Huaqin by

   phone at the phone numbers listed on their website (https://en.huaqin.com/Gms.html) to confirm

   the physical and email addresses. The call was not answered and no option to leave a voicemail

   was given.

             Bradley Barakat lists himself as General Manager of Huaqin’s North America operations.

   (Ex. B at 14.) Public land records indicate that Mr. Barakat is the title owner of property in

   Dallas, Texas located at 8771 Halstead Court, Dallas, TX 75243. (Ex. B at 16-17.)

             Service was attempted twice on Mr. Barakat at the Halstead Court address by Donna

   King of CPS Companies on June 15, 2022 and again on June 17, 2022. (Ex. B at 10-13.) Both

   times an individual answered the door who refused to identify himself, but did express an interest

   in the documents and confirmed that Mr. Barakat (his brother) stays at the location. (Ex. B at

   10-13.)

   III.      LEGAL STANDARD

             Rule 4(f) provides means for effectuating service upon an individual defendant located in

   a foreign country. Fed. R. Civ. P. 4(f)(1)–(3). The foreign defendant may be served using the

   methods authorized by the Hague Convention. Fed. R. Civ. P. 4(f)(1). The foreign defendant

   may also be served under Rule 4(f)(3) “by other means not prohibited by international

   agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3). Service on a foreign defendant under

   Rule 4(f)(3) must be authorized by the court pursuant to its discretionary power. Prewitt Enters. v.

   OPEC, 353 F.3d 916, 921 (11th Cir. 2003) (holding that a court’s decision on a motion for

   alternative service is discretionary) (citing Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1014

   (9th Cir. 2002)). The court’s discretionary exercise of Rule 4(f)(3) “is neither a last resort nor

   extraordinary relief.” Brookshire Bros., Ltd. v. Chiquita Brands Int’l, Inc., No. 05-CIV-21962-

   COOKE/BROWN, 2007 U.S. Dist. LEXIS 39495, at *2 (S.D. Fla. May 31, 2007) (citing Rio Props.,

   284 F.3d at 1015). Indeed, Rule 4(f) does not require a party to attempt service of process by the
                                                    7
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 11 of 16




   Hague Convention or “by those methods enumerated in Rule 4(f)(2), including by diplomatic

   channels and letters rogatory, before petitioning the court for alternative relief under Rule

   4(f)(3).” Rio Props. at 1014-15.

          Rule 4(h)(2) provides that a foreign corporation must be served “in any manner

   prescribed by Rule 4(f).” Fed. R. Civ. P. 4(h)(2). A foreign corporation can be served pursuant

   to Rule 4(f)(3). United States CFTC v. Aliaga, 272 F.R.D. 617, 619 (S.D. Fla. 2011). The

   method of service on a foreign corporation under Rule 4(f)(3) must comport with “constitutional

   notions of due process.” Rio Props. at 1016. “[T]he method of service crafted by the district

   court must be ‘reasonably calculated, under all the circumstances, to apprise interested parties of

   the pendency of the action and afford them an opportunity to present their objections.” Id.

   (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). Specifically,

          What constitutes appropriate service varies depending on the circumstances of the
          case and turns on the court’s determination of whether the alternative method is
          reasonably calculated to apprise the parties of the pendency of the action and
          afford them an opportunity to present their objections.

   Tapestry, Inc. v. 2012coachoutlets.com, No. 17-24561-Civ-Scola, 2018 U.S. Dist. LEXIS

   233014, at *4 (S.D. Fla. Feb. 6, 2018) (authorizing alternative service under Rule 4(f)(3) on

   foreign defendants via e-mail and publication) (citing Philip Morris USA, Inc. v. Veles Ltd., 2007

   U.S. Dist. LEXIS 19780, 2007 WL 725412, at *2 (S.D.N.Y. Mar. 12, 2007).

          Service by e-mail is not prohibited by the Hague Convention. See, e.g., Tapestry, 2018

   U.S. Dist. LEXIS 233014, at *3. Moreover, this Court, and numerous district courts, have held

   that service by e-mail on a foreign defendant is permissible under Rule 4(f)(3) even where the

   defendant’s country, such as China, has declared its opposition to the use of postal channels

   pursuant to article 10(a) of the Hague Convention. Id.; Lexmark Int’l, Inc. v. Ink Techs. Printer

   Supplies, LLC, 291 F.R.D. 172, 175 (S.D. Ohio 2013) (“Email service has been approved even

   where, as here, the country objects to Article 10 of the Hague Convention.”); Gamboa v. Ford
                                                    8
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 12 of 16




   Motor Co., 414 F. Supp. 3d 1035, 1042 (E.D. Mich. 2019) (“Email is not listed as a means of

   service under article 10.”); Microsoft Corp. v. Goldah.com Network Tech. Co., No. 17-CV-

   02896-LHK, 2017 U.S. Dist. LEXIS 168537, at *4 (N.D. Cal. Oct. 11, 2017) (“Yet China’s

   objection to Article 10 does not prohibit the email service the Court ordered in the instant case”);

   WeWork Cos. v. WePlus (Shanghai) Tech. Co., No. 5:18-cv-04543-EJD, 2019 U.S. Dist. LEXIS

   5047, at *8 (N.D. Cal. Jan. 10, 2019) (“Given the weight of authority, the court finds that

   China’s objection to Article 10 regarding postal service does not mean that email service is

   ‘prohibited by international agreement.’”).

          Rule 4(m) provides that if “a defendant is not served within 90 days after the complaint is

   filed, the court—on motion or on its own after notice to the plaintiff—must dismiss the action

   without prejudice against that defendant or order that service be made within a specified time.

   But if the plaintiff shows good cause for the failure, the court “must extend the time for service

   for an appropriate period.” Fed. R. Civ. P. 4(m). The Eleventh Circuit has held that “[e]ven in

   the absence of good cause, a district court has the discretion to extend the time for service of

   process.” Lepone-Dempsey v. Carroll County Comm’rs, 476 F.3d 1277, 1281 (11th Cir. 2007)

   (citing Horenkamp v. Van Winkle & Co., 402 F.3d 1129, 1132 (11th Cir. 2005).

   IV.    ARGUMENT

          A.      Service on Chino-E and Huaqin by Email Is Appropriate Under Rule 4(f)(3)

          Here, service on foreign Defendants Chino-E and Huaqin by e-mail satisfies due process

   by apprising them of the pending litigation and providing them the opportunity to answer BNR’s

   claims. Each Defendant publicly operates a website on the Internet and provides electronic

   means to contact them via e-mail. All of the e-mail addresses that BNR requests to be used for

   service are still publicly shown on Defendants’ websites and Plaintiff’s attempts to use these e-

   mail addresses demonstrates that they are valid email addresses.


                                                    9
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 13 of 16




          Email service on Chinese-based Defendants Chino-E and Huaqin in this case is

   appropriate under Rule 4(f)(3) as it is “reasonably calculated, under all the circumstances, to

   apprise interested parties of the pendency of the action and afford an opportunity to present their

   objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950); see also

   Facebook, Inc. v. Banana Ads, LLC, No. C-11-3619-YGR, 2012 U.S. Dist. LEXIS 42160 at *5-6

   (finding that email service satisfies due process where defendants were “involved in commercial

   internet activities” and “rel[ied] on electronic communications to operate their businesses” and

   the plaintiff had “valid email addresses” for defendants); The NOCO Co., Inc. v. Shenzhen Lianfa

   Tong Technology Co., Ltd., et al., Case No. 1:19-cv-1855-CAB at *5 (N.D. Ohio Feb. 5, 2020),

   (finding that “[i]n light of Plaintiff’s good faith efforts to serve Defendants via physical (through

   the Waiver Package), telephonic and electronic means, the Court finds that Plaintiff has

   exhausted all means consistent with Defendants’ right to due process.”) As this Court held in

   Tapestry, e-mail service on foreign defendants based in China is not prohibited by the Hague

   Convention and is an approved means of service under Rule 4(f)(3). Tapestry, 2018 U.S. Dist.

   LEXIS 233014, at *4. Thus, e-mail service is a proper means of service in this case as well.

          B.      Formal Hague Service Will Cause Significant Delay and Expense

          Compliance with the Hague Convention-mandated methods of service would result in

   unwarranted delay of these proceedings and unnecessary expense to BNR. China requires

   parties using Hague channels to provide Chinese translations of the documents to be served,

   which would require significant time and expense. (See Hague Conference on Private

   International Law website, available at:

   https://www.hcch.net/en/states/authorities/details3/?aid=243 (last visited July 7, 2020).)

   Once translated, the documents and request for service must be sent to the Central Authority,

   China’s Ministry of Justice, which will effect service either by mail or through a marshal. (See


                                                    10
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 14 of 16




   id.) The website of the Ministry of Justice does not provide any estimate as to the amount of

   time necessary to effect service. (See http://en.moj.gov.cn/ (last visited July 7, 2022).)

          In light of the expense involved in the use of Hague Convention procedures for service,

   and the uncertainty regarding the amount of time necessary to effect service upon Chino-E and

   Huaqin using Hague Convention procedures, BNR submits that its alternative means of service is

   reasonable under the circumstances. As other courts have recognized, “seeking to avoid

   unnecessary delay and expense is a valid reason to grant alternative service.” STC.UNM v. TP-

   Link Technologies Co., Ltd., Case No. 6:19-cv-00262-ADA at *4 (W.D. Tex. June 24, 2019).

   China is a signatory to the Hague Convention and has not expressly objected to service of

   process by email, website posting, or social media messaging. Stat Med. Devices, Inc. v. HTL-

   Strefa, Inc., No. 15-20590-CIV, 2015 WL 5320947, at *3 (S.D. Fla. Sept. 14, 2015) (O’Sullivan,

   J.) (“This Court and many other federal courts have permitted service by electronic mail and

   determined that an objection to Article 10 of the Hague Convention, i.e. an objection to service

   through “postal channels” does not equate to an express objection to service via electronic

   mail.”).

          C.      A Brief Extension of Time to Serve Defendants Will Streamline the
                  Litigation

          Pursuant to Rule 4(m), this Court must either (1) dismiss Defendants Chino-E and

   Hauqin from the case without prejudice upon notice to Plaintiff, or (2) permit Plaintiff an

   extension of time to serve Defendants. Here, Plaintiff seeks a brief, two-week extension of time

   to serve the Defendants via e-mail by July 19, 2022 under Rule 4(f)(3) as set forth above. The

   latter option in this case will conserve judicial resources and is reasonable under the

   circumstances because a new case will not need to be filed and it will keep the litigation against

   these two Defendants streamlined and on schedule with the other six defendants in the above

   captioned matter. The former will result in unwarranted delay, as the case against these two
                                                    11
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 15 of 16




   Defendants will then be re-filed, which will potentially open up a new 90-day window for these

   two Defendants to continue avoiding the pending litigation. All the while, the rest of the

   litigation will be pressing ahead. Here, as shown above through the continuous efforts of

   Plaintiff to notify Defendants and obtain their waiver of service, a reasonable basis exists for

   extending the 90-day period to allow Plaintiff to effect service of the Complaint on these two

   Defendants by e-mail.

   V.     CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that this Court grant the present

   motion and authorize service pursuant to Rule 4(f)(3) upon Chino-E by e-mail to

   cncekor@chino-E.com and gms@ontim.cn and upon Huaqin by e-mail to huaqin@huaqin.com.

   Plaintiff further respectfully requests that this Court grant an additional 14-day extension of time

   pursuant to Rule 4(m) to serve Defendants Chino-E and Huaquin by e-mail up to and including

   July 19, 2022.

                          CERTIFICATION OF PRE-FILING CONFERENCE

          Pursuant to Local Rule 7.1(a)(3), the undersigned certify that he met and conferred with

   counsel for Defendants regarding the issues raised in this motion via email and phone, and

   Defendants do not oppose the relief requested herein except for defendants Hon Hai Precision

   Industry Co., Ltd. and Unisoc Technologies Co., Ltd. that who did not respond to requests.

   Defendant Tinno conditioned its consent on the inclusion of the following statement: “Tinno

   states that it does not oppose this motion as it does not relate to Tinno, but further states that

   Tinno’s non-opposition should not be taken as an admission that this type of alternative service

   against foreign defendants is generally proper.” Defendant Wingtech conditioned its consent on

   the inclusion of the following statement: “Defendant Wingtech states that it does not oppose this

   motion as it does not relate to Wingtech, but further states that Wingtech’s non-opposition


                                                     12
Case 1:22-cv-21035-RNS Document 44 Entered on FLSD Docket 07/12/2022 Page 16 of 16




   should not be considered an admission that such alternative service against foreign defendants is

   proper.”

   Date: July 12, 2022                         /s/Jorge Espinosa/
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                                                  13
